
GRben, J.
delivered the opinion of the court.
In this case notice of non-payment was sent to an endorser, directed to a place where there was no post office at the time. The court told the jury, that if notice was directed to a place *55where there had been no post office for six, twelve or eighteen months before the date of the notice, this would not be due diligence. We think this charge correct; although a notice directed to the wrong post office may be good, if due diligence have been used to ascertain the right one, and the party is informed that the one to which he directs it is the nearest to the endorser; yet if a post office have been discontinued as long as six or twelve months, that fact is evidence that due diligence was not used.
We are not prepared to say, that if upon diligent enquiry a party is informed that there is a post office at a particular place, and directs a notice there, and it afterwards turns out that it had been but recently discontinued, such notice would not be sufficient. But the length of time the post office had been discontinued in this case, furnishes evidence of the want of diligence. Affirm the judgment.
